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   8                           UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
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  11   RONDELL J. MITCHELL,                           Case No. ED CV 19-01569 VBF (PVC)
  12                        Petitioner,               ORDER ACCEPTING FINDINGS,
              v.                                      CONCLUSIONS AND
  13
                                                      RECOMMENDATIONS OF UNITED
  14   GISELLE MATTESON, Acting Warden,               STATES MAGISTRATE JUDGE
  15                        Respondent.
  16
  17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, all the records
  18   and files herein, the Report and Recommendation of the United States Magistrate Judge,
  19   and Petitioner’s Objections. After having made a de novo determination of the portions of
  20   the Report and Recommendation to which Objections were directed, the Court concurs
  21   with and accepts the findings and conclusions of the Magistrate Judge.
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  23          IT IS ORDERED that the Petition is denied and Judgment shall be entered
  24   dismissing this action without prejudice.
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   1         IT IS FURTHER ORDERED that the Clerk serve copies of this Order and the
   2   Judgment herein on Petitioner at his address of record and on counsel for Respondent.
   3         LET JUDGMENT BE ENTERED ACCORDINGLY.
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   5   DATED: September 18, 2020
   6                                                   Hon. VALERIE BAKER FAIRBANK
                                                       UNITED STATES DISTRICT JUDGE
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